 
 

                          IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MISSOURI
                                    CENTRAL DIVISION

    NORMAN BROWN, RALPH McELROY,                           )
    SIDNEY ROBERTS, and THERON ROLAND, on                  )
    behalf of themselves and a class of similarly          )
    situated individuals,                                  )
                                                           )
                   Plaintiffs,                             )
                                                           )
           v.                                              )     Case No. 17-cv-4082
                                                           )
    ANNE L. PRECYTHE, Director of Missouri                 )
    Department of Corrections, in her official capacity,   )
    et al.,                                                )
                                                           )
                   Defendants.                             )

                             SECOND AMENDED COMPLAINT
                       FOR DECLARATORY AND INJUNCTIVE RELIEF

          COME NOW the plaintiffs Norman Brown, Ralph McElroy, Sidney Roberts, and Theron

Roland, on behalf of themselves and a class of similarly situated individuals, and for their cause

against defendants Anne L. Precythe, Kenneth Jones, Jim Wells, Martin Rucker, Ellis McSwain,

Don Ruzicka, Jennifer Zamkus, and Gary Dusenberg, state as follows:

                                          INTRODUCTION

          1.      This challenge is brought by and on behalf of over 80 Missouri prisoners who were

sentenced to die behind bars for crimes they allegedly committed as children and who, decades

later, are being deprived of a meaningful opportunity for release, in contravention of their federal

and state constitutional rights. Unfortunately, the Missouri Parole Board seems to believe its

discretion is absolute and its actions beyond reproach.

          2.      Plaintiffs’ First Amended Complaint incorporated, among other things, information

collected through Missouri Sunshine Law requests since Plaintiffs filed their Original Complaint

in this matter. Disturbingly, this additional data include a revelation that at least one member of


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the Parole Board has been conducting parole hearings – those mechanisms by which the state

argues it can effectively protect and vindicate Plaintiffs’ constitutional Miller rights – largely for

their own entertainment. This presiding Board Member and parole hearing staff would often toy

with inmates by creating games out of parole hearings, scoring “points” each time they were able

to get an inmate to say certain ridiculous words or song titles upon prompting. That a Parole Board

member would engage in such ongoing thoughtless, unprofessional, and adolescent behavior in

this context in general is alarming, but the fact that the state continues to argue that it should be

allowed to rely on an appointed administrative body in which such behavior occurs, with little to

no oversight and no visibility to the public, is incomprehensible.

              3.             Until very recently, the Board Member who set this scheme into action, Defendant

Don Ruzicka, was still sitting as an active member of the Parole Board, determining the fate of

individuals who the United States Supreme Court has said deserve a meaningful opportunity for

release.1 In fact, Defendant Ruzicka presided over named Plaintiff Norman Brown’s parole hearing

on May 24, 2016. These occurrences – and the attitude toward parole, parole hearings, and

prisoners’ rights that they betray – are emblematic of the essential failure of the Parole Board to

properly and effectively perform their vital constitutional duties, especially in the context of their

expanded role under Senate Bill 590.

              4.             The Board cannot violate inmates’ constitutional rights. Absent intervention by this

Court, the Board will continue to do so in the context of juvenile offenders whose rehabilitation

and maturation is not being meaningfully considered.




                                                            
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  The Plaintiffs received this information as a part of a Missouri Sunshine Law request. Without
the work of the Plaintiffs to uncover this disturbing pattern of behavior it is likely that the Plaintiffs,
and the public, would never have learned of the behavior.

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       5.      Plaintiffs and the class they seek to represent received mandatory life without

parole (“LWOP”) sentences – de facto death sentences imposed without appropriate and

constitutionally-required consideration of their youth and its attendant characteristics.

       6.      In 2012, the United States Supreme Court declared such sentences unconstitutional

for those under 18 at the time of their crimes, noting “the distinctive attributes of youth diminish

the penological justifications for imposing the harshest sentences on juvenile offenders, even when

they commit terrible crimes.” Miller v. Alabama, 132 S.Ct. 2455, 2458, 2469 (2012) (citing Roper

v. Simmons, 543 U.S. 551, 560 (2005), and Graham v. Florida, 560 U.S. 48, 68-69 (2010)).

       7.      The Court continued that, in light of juvenile offenders’ immaturity, recklessness,

impetuosity, sensitivity to peer pressure, and capacity for change, LWOP should be imposed only

in the rarest of cases. Miller, 132 S.Ct. at 2469 (quoting Roper, 543 U.S. at 573; Graham, 560 U.S.

at 68); see also Montgomery v. Louisiana, 577 U.S. __, 136 S.Ct. 718 (2016) (holding that Miller

applies retroactively and LWOP is only appropriate for the most incorrigible juvenile offenders).

       8.      The United States Supreme Court has reiterated that proposition in more recent

opinions. See Tatum v. Arizona, 137 S.Ct. 11, 13 (Oct. 31, 2016) (noting the critical question when

LWOP is on the table for juvenile offenders is “whether the petitioner was among the very ‘rarest

of juvenile offenders, those whose crimes reflect permanent incorrigibility.’”) (Sotomayor, J.,

concurring) (quoting Montgomery, 136 S.Ct. at 734); Adams v. Alabama, 136 S.Ct. 1796, 1799

(May 23, 2016) (noting LWOP appropriate only for “the rare juvenile offender whose crime

reflects irreparable corruption.”) (Sotomayor, J., concurring) (citations omitted).

       9.      Simply put: children are different for sentencing purposes. As a result, Plaintiffs

are entitled to a “meaningful opportunity to obtain release based on demonstrated maturity and

rehabilitation.” Graham, 560 U.S. at 75 (emphasis added). Juvenile offenders sentenced to life




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without parole now have a constitutionally-protected liberty interest in parole proceedings

permitting release based on demonstrated maturity and rehabilitation. Defendants’ practices and

customs governing the parole review process for Plaintiffs and the class they seek to represent

deny them that right. For purposes of review, Defendants treat these “juvenile offenders” no

differently than typical adult offenders.2 In fact, Defendants acknowledged as much in their initial

Motion to Dismiss filed in this matter. See, e.g., Doc. 26 at 4, 6.

              10.             Instead, Plaintiffs’ parole hearings are shrouded in privacy, with little-to-no ability

to present mitigating evidence in their defense or see the evidence against them contained in their

parole file, and with no substantive consideration of so-called Miller factors, including the

individual’s age at the time of the crime.

              11.            The hearings themselves generally last no more than 15 to 30 minutes, with the

majority of the discussion focused not on the individual’s rehabilitation and maturation but on the

facts and circumstances of the offense, which occurred decades prior and, very much unlike the

minds and behavior of juvenile offenders, are not subject to change over time.

              12.            Plaintiffs are not guaranteed the right to counsel at their parole hearings, and in fact

are discouraged from having counsel appear as their one and only permitted delegate.

              13.            Of those who have had parole review hearings under RSMo. § 558.047, the vast

majority have been denied parole. Upon information and belief, these denials are in whole or part


                                                            
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  This is not to say adult offenders receive appropriate treatment in Missouri’s parole proceedings
either. Indeed, countless critiques have been lodged against the Board’s arbitrary and standard-less
processes. See, e.g., Bogan, Missouri Parole Board Lumbers on in Secrecy with Unfilled Seats,
ST. LOUIS POST DISPATCH, Sept. 20, 2015; David Leib, Missouri Parole Board Among the More
Secretive Agencies, SOUTHEAST MISSOURIAN, Mar. 15, 2011; see also Beth Schwartzapfel, How
Parole Boards Keep Prisoners in the Dark and Behind Bars, WASHINGTON POST, July 11, 2015
(“Parole Boards Keep Prisoners in the Dark”); Beth Schwartzapfel, Life Without Parole, THE
MARSHALL PROJECT (July 10, 2015) (quoting former operations manager of Missouri’s Parole
Board referring to Board as “paranoid closed . . . [c]losed to the extreme.”).


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based on conclusory concerns about the “circumstances of the offense.” The Board has denied

parole to approximately 90% of those who are eligible under the recent change in Missouri law

and requested a hearing with the Board.

              14.            As a result of Defendants’ actions, Plaintiffs have been and continue to be denied a

realistic and meaningful opportunity for release, in violation of the Eighth and Fourteenth

Amendments to the United States Constitution and in violation of the Missouri Constitution, Art.

I, §§ 10, 21.

              15.            The goal of this action is not to challenge the fact or duration of Plaintiffs’ current

confinement. Instead, Plaintiffs seek a declaration that the current parole process afforded

individuals serving JLWOP sentences3 is unconstitutional, and an injunction requiring Defendants

to provide proceedings that afford a meaningful opportunity to obtain release based on

demonstrated maturity and rehabilitation for youthful offenders currently serving unconstitutional

LWOP sentences.

                                                               JURISDICTION AND VENUE

              16.            Plaintiffs bring this action pursuant to 42 U.S.C. § 1983, the Eighth and Fourteenth

Amendments to the United States Constitution, 42 U.S.C. § 1331 and 28 U.S.C. §§ 1343 and

1367(a), Article I, Sections 10 and 21 of the Missouri Constitution, and the federal Declaratory

Judgment Act, 28 U.S.C. § 2201, et seq.

              17.            Venue is appropriate in this district pursuant to 28 U.S.C. § 1391(g) and L.R.

3.1(a)(2) because substantial events at issue in this litigation occurred in the Western District of

Missouri and the County of Cole, Missouri.



                                                            
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 As defined herein, “JLWOP” refers to a mandatory LWOP sentence imposed on an individual
who was under 18 years of age at the time of the crime.


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                                           PARTIES

       18.     Plaintiff Norman Brown is a youthful offender, now 41 years of age, incarcerated

at South Central Correctional Center in Licking, Missouri, assigned MDOC No. 191425. Mr.

Brown seeks declaratory and injunctive relief on behalf of himself and a class of plaintiffs

sentenced to JLWOP who are currently or will in the future be subject to the unconstitutional

policies and practices of the Missouri Board of Probation and Parole.

       19.     Plaintiff Ralph McElroy is a youthful offender, now 47 years of age, incarcerated

at Eastern Reception Diagnostic and Correctional Center in Bonne Terre, Missouri, assigned

MDOC No. 169637. Mr. McElroy seeks declaratory and injunctive relief on behalf of himself and

a class of plaintiffs sentenced to JLWOP who are currently or will in the future be subject to the

unconstitutional policies and practices of the Missouri Board of Probation and Parole.

       20.     Plaintiff Sidney Roberts is a youthful offender, now 46 years of age, incarcerated

at Jefferson City Correctional Center in Jefferson City, Missouri, assigned MDOC No. 171590.

Mr. Roberts seeks declaratory and injunctive relief on behalf of himself and a class of plaintiffs

sentenced to JLWOP who are currently or will in the future be subject to the unconstitutional

policies and practices of the Missouri Board of Probation and Parole.

       21.     Plaintiff Theron “Pete” Roland is a youthful offender, now 46 years of age,

incarcerated at Crossroads Correctional Center in Cameron, Missouri, assigned MDOC No.

165253. Mr. Roland seeks declaratory and injunctive relief on behalf of himself and a class of

plaintiffs sentenced to JLWOP who are currently or will in the future be subject to the

unconstitutional policies and practices of the Missouri Board of Probation and Parole.

       22.     Defendant Anne Precythe is the Director of the Missouri Department of Corrections

(“MDOC”). She is responsible for the operations of MDOC, including adopting, approving and




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implementing and/or modifying the policies, practices and customs applicable to the prisons that

MDOC operates throughout the State of Missouri, the Division of Probation and Parole, and the

Missouri Board of Probation and Parole (the “Board” or “Parole Board”). The Parole Board is

responsible for determining whether a person confined in the Department of Corrections shall be

paroled or conditionally released, and for supervising all persons on probation and parole. Upon

information and belief, Director Precythe is the final policymaker for MDOC, including the Board.

She is sued in her official capacity.

       23.     Defendant Kenneth Jones is the chairman of the Parole Board. In that capacity,

Chairman Jones is responsible for, among other things, the operations of the Board, including the

policies, practices and customs governing the parole hearings for individuals serving JLWOP

sentences. Upon information and belief, Defendant Jones also personally participates in, leads, or

directs parole hearings, and contributes to or makes decisions regarding parole determinations,

including for individuals serving JLWOP sentences. Defendant Jones is responsible for inter alia

complying with operative law and Board policies, practices and customs vis-à-vis these hearings.

He is sued in his official capacity.

       24.     Defendant Jim Wells is a member of the Parole Board. In that capacity, Defendant

Wells personally participates in, leads, or directs parole hearings, and contributes to or makes

decisions regarding parole determinations, including for individuals serving JLWOP sentences.

Defendant Wells is responsible for inter alia complying with operative law and Board policies,

practices and customs vis-à-vis these hearings. He is sued in his official capacity.

       25.     Defendant Martin Rucker is a member of the Parole Board. In that capacity,

Defendant Rucker personally participates in, leads, or directs parole hearings, and contributes to

or makes decisions regarding parole determinations, including for individuals serving JLWOP




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sentences. Defendant Rucker is responsible for inter alia complying with operative law and Board

policies, practices and customs vis-à-vis these hearings. He is sued in his official capacity.

       26.     Defendant Ellis McSwain, Jr. is a member of the Parole Board and the former

Chairman of the Board. As Chairman, McSwain was responsible for, among other things, the

operations of the Board, including the policies, practices and customs governing the parole

hearings for individuals serving JLWOP sentences. In his current capacity, Defendant McSwain

personally participates in, leads, or directs parole hearings, and contributes to or makes decisions

regarding parole determinations, including for individuals serving JLWOP sentences. Defendant

McSwain is responsible for inter alia complying with operative law and Board policies, practices

and customs vis-à-vis these hearings. He is sued in his official capacity.

       27.     Defendant Don Ruzicka was a member of the Parole Board until his resignation on

or about June 12, 2017. In that capacity, Defendant Ruzicka personally participated in, lead, or

directed parole hearings, and contributed to or made decisions regarding parole determinations,

including for individuals serving JLWOP sentences. Defendant Ruzicka was responsible for inter

alia complying with operative law and Board policies, practices and customs vis-à-vis these

hearings. As further described below, he was the subject of MDOC internal investigation, has a

confirmed history of abusing his position on the Board, and yet—until recently, after Plaintiffs’

counsel brought his misconduct to light—he remained on the Board conducting countless hearings

each week. He is sued in his official capacity, with the understanding and expectation that if and

when his position on the Board is filled, the new member of the Board will automatically be

substituted in as a party pursuant to FED. R. CIV. P. 25(d).

       28.     Defendant Jennifer Zamkus is the Vice Chair and a member of the Parole Board.

Upon information and belief, in her capacity as Vice Chair, Defendant Zamkus is responsible for,




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among other things, the operations of the Board, including the policies, practices, and customs

governing parole hearings for individuals serving JLWOP sentences, and the Board’s funds and

expenditures. In her capacity as a member of the Board, Defendant Zamkus personally participates

in, leads, or directs parole hearings, and contributes to or makes decisions regarding parole

determinations, including for individuals serving JLWOP sentences. Defendant Zamkus is

responsible for inter alia complying with operative law and Board policies, practices and customs

vis-à-vis these hearings. She is sued in her official capacity.

       29.     Defendant Gary Dusenberg is a member of the Parole Board. In that capacity,

Defendant Dusenberg personally participates in, leads, or directs parole hearings, and contributes

to or makes decisions regarding parole determinations, including for individuals serving JLWOP

sentences. Defendant Dusenberg is responsible for inter alia complying with operative law and

Board policies, practices and customs vis-à-vis these hearings. He is sued in his official capacity.

       30.     At all times relevant to this Complaint, Defendants Precythe, Jones, Wells, Rucker,

McSwain, Ruzicka, Zamkus, and Dusenberg (collectively, “Defendants”) acted under color of law.

                                               FACTS

        The United States Supreme Court’s Clear Mandate that Children are Different

       31.     Starting in 2005, the United States Supreme Court issued a series of decisions

soundly establishing the principle that children are different from adults, drawing on science and

social science as well as legal precedent and common sense.

       32.     Because adolescent brains are not fully developed, young people do not appreciate

risks, are more susceptible to peer pressure, and do not understand the consequences of their

actions in the same way as adults. They also are more likely than adults to mature and change over

time, or become “rehabilitated” through incarceration. For those reasons, the legal and carceral

system must treat minors differently than adults.


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       33.     In Roper v. Simmons – a case that originated here in Missouri – the United States

Supreme Court held that the Constitution forbids the imposition of the death penalty on individuals

who were under the age of 18 when their crimes were committed. 543 U.S. at 578-79. In so

holding, the Supreme Court described juveniles as “categorically less culpable than the average

criminal.” Id., at 567 (quoting Atkins v. Virginia, 536 U.S. 304, 316 (2002)).

       34.     The Roper opinion set forth three general differences that separate juveniles from

adults: (1) lack of maturity and impetuosity; (2) susceptibility to “negative influences and outside

pressures, including peer pressure”; and (3) the more transitory nature of juveniles’ personality

traits. 543 U.S. at 569-70.

       35.     Five years later, in Graham v. Florida, the Court held that LWOP sentences were

unconstitutional for juvenile offenders who did not intentionally kill and that the state must give

such individuals a meaningful opportunity to obtain release. 560 U.S. 48.

       36.     Graham drew on Roper, observing that “developments in psychology and brain

science continue to show fundamental differences between juvenile and adult minds” – differences

that caution against infliction of the most severe punishments on incarcerated youth. Id. at 68.

       37.     The Court further acknowledged that LWOP is “the second most severe penalty

permitted by law,” and especially harsh for a juvenile defendant who would “on average serve

more years and a greater percentage of his life in prison than an adult offender” serving the same

sentence – “the same punishment in name only.” Graham, 560 U.S. at 70-71 (internal citations

omitted).

       38.     Both Roper and Graham emphasized that juveniles’ lessened culpability, potential

for rehabilitation, and reduced response to deterrent efforts diminish the typical penological

justifications for imposing the harshest sentences. See Graham, 560 U.S. at 68, 71-74 (noting that




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“developments in psychology and brain science continue to show fundamental differences between

juvenile and adult minds” – for example, in “parts of the brain involved in behavior control”);

Roper, 543 U.S. at 570 (“Only a relatively small proportion of adolescents who experiment in risky

or illegal activities develop entrenched patterns of problem behavior that persist into adulthood.”)

(internal quotations and citations omitted).

        39.       Thus, as a matter of constitutional law, when juveniles are sentenced, they must be

provided with some “realistic opportunity to obtain release before the end of that term.” 560 U.S.

at 82; see also id. at 75 (state must provide “meaningful opportunity to obtain release based on

demonstrated maturity and rehabilitation”).

        40.       Graham, Miller and Montgomery thus created a constitutionally-protected liberty

interest in parole proceedings permitting early release based on demonstrated maturity and

rehabilitation.

                  Elimination of Mandatory LWOP and the Need for Meaningful
                           and Realistic Opportunity to Obtain Release

        41.       Roper and Graham converged in the Court’s 2012 decision of Miller v. Alabama,

which held that mandatory LWOP sentences for juveniles (“JLWOP” sentences) violate the Eighth

Amendment. 132 S.Ct. at 2469.

        42.       Miller again reiterated that children are “less deserving of the most severe

punishment.” Id. at 2464. As the Court summarized:

                  Mandatory life without parole for a juvenile precludes consideration
                  of his chronological age and its hallmark features—among them,
                  immaturity, impetuosity, and failure to appreciate risks and
                  consequences. It prevents taking into account the family and home
                  environment that surrounds him—and from which he cannot usually
                  extricate himself—no matter how brutal or dysfunctional. It neglects
                  the circumstances of the homicide offense, including the extent of
                  his participation in the conduct and the way familial and peer
                  pressures may have affected him.



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Id. at 2468.

       43.     Furthermore, a mandatory punishment of LWOP for juvenile offenders “disregards

the possibility of rehabilitation even when the circumstances most suggest it.” Id.

       44.     In light of the unique characteristics of youth, and their “heightened capacity for

change,” the Court further concluded that JLWOP sentences should be “uncommon” and imposed

only on “the rare juvenile offender whose crime reflects irreparable corruption” as opposed to

“unfortunate yet transient immaturity.” Id. at 2469.

       45.     Furthermore, prior to the imposition of JLWOP sentences, youth are entitled to

individualized hearings at which the individual’s chronological age and other relevant mitigating

factors relating to age must be considered. Id., at 2468. The sentence must “take into account how

children are different, and how those differences counsel against irrevocably sentencing them to a

lifetime in prison.” Id. at 2469.

       46.     Nearly four years later, the Court decided Montgomery v. Louisiana, clarifying that

Miller did not merely impose a procedural requirement for individualized sentencing but

“announced a substantive rule of constitutional law,” which applied retroactively to cases on

collateral review. 136 S.Ct. at 732, 736.

       47.     Miller’s substantive rule that LWOP “is only an appropriate punishment for the

‘rare juvenile offender whose crime reflects irreparable corruption,’” Adams, 136 S.Ct. at 1799

(quoting Montgomery, 136 S.Ct. at 735), carries categorical constitutional guarantees,

Montgomery, 136 S.Ct. at 729. Given the historical imposition of mandatory JLWOP sentences,

the Court warned that “Miller’s conclusion that the sentence of life without parole is

disproportionate for the vast majority of juvenile offenders raises a grave risk that many are being

held in violation of the Constitution.” Id. at 736.




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              48.            In these ways, Miller provided both substantive and procedural requirements. In

addition, juveniles “must be given the opportunity to show their crime did not reflect irreparable

corruption; and, if it did not, their hope for some years of life outside prison walls must be

restored.” Id. at 736-37.

                             Missouri’s SB 590: Placing Miller Process with the Parole Board

              49.            Approximately 80 individuals incarcerated within MDOC were and remain

impacted by the Miller decision. In its wake, the vast majority of those individuals sought state

habeas corpus relief from the Missouri Supreme Court.

              50.            In most instances, those habeas petitions remained pending for over three years.

              51.            After the United States Supreme Court’s opinion in Montgomery was announced,

the Missouri Supreme Court issued a uniform order providing that Miller-impacted petitioners

would be eligible to apply for parole after serving 25 years’ imprisonment, “unless his sentence is

otherwise brought into conformity with Miller and Montgomery by action of the governor or

enactment of necessary legislation.”4

              52.            This March 15 Order was not the end for those habeas petitions. Several months

later, on July 19, the Court on its own motion vacated the March 15 Order, denied the petitions,

and referred petitioners to new legislation: Senate Bill 590, 98th General Assembly (“SB 590” or

“the Bill”).

              53.            SB 590, passed by the General Assembly on May 12, 2016, sought to codify, in

part, the terms of the Court’s March 15 Order. The Bill was signed into law on July 13, 2016. A

copy of the Bill, as signed into law, is attached hereto as Exhibit 1.



                                                            
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  This March 15, 2016 Order said nothing about other consecutive or concurrent sentences the
individual petitioners might be serving.


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       54.     The Bill provided, in relevant part, that any person sentenced to JLWOP prior to

August 28, 2016, “may submit to the parole board a petition for a review of his or her sentence,

regardless of whether the case is final for purposes of appeal, after serving twenty-five years of

incarceration on the sentence of life without parole.” See Exhibit 1; see also RSMo. § 558.047.1(1).

       55.     SB 590 further provides that, at a “parole review hearing” under RSMo.

§ 558.047, the Parole Board is to consider the following factors:

               (1) Efforts made toward rehabilitation since the offense or offenses
               occurred, including participation in educational, vocational, or other
               programs during incarceration, when available;

               (2) The subsequent growth and increased maturity of the person
               since the offense or offenses occurred;

               (3) Evidence that the person has accepted accountability for the
               offense or offenses, except in cases where the person has maintained
               his or her innocence;

               (4) The person’s institutional record during incarceration; and

               (5) Whether the person remains the same risk to society as he or she
               did at the time of the initial sentencing[;]

as well as:

               (1) The nature and circumstances of the offense committed by the
               defendant;

               (2) The degree of the defendant’s culpability in light of his or her
               age and role in the offense;

               (3) The defendant's age, maturity, intellectual capacity, and mental
               and emotional health and development at the time of the offense;

               (4) The defendant’s background, including his or her family, home,
               and community environment;

               (5) The likelihood for rehabilitation of the defendant;

               (6) The extent of the defendant’s participation in the offense;

               (7) The effect of familial pressure or peer pressure on the
               defendant’s actions;


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               (8) The nature and extent of the defendant’s prior criminal history,
               including whether the offense was committed by a person with a
               prior record of conviction for murder in the first degree, or one or
               more serious assaultive criminal convictions;

               (9) The effect of characteristics attributable to the defendant’s youth
               on the defendant’s judgment; and

               (10) A statement by the victim or the victim’s family member as
               provided by section 557.041 until December 31, 2016, and
               beginning January 1, 2017, section 595.229.

RSMo. §§ 558.047.5, 565.033.2.

         56.   The process contemplated by SB 590 is constitutionally inadequate for a number of

reasons. For example, the Bill attempts to delegate the job of the judiciary to probation and parole

staff.

         57.   The Bill also impermissibly provides special enhancement protections for some

youth but not others. For instance, going forward the prosecution must prove beyond a reasonable

doubt the existence of certain aggravating factors before LWOP is a possibility. That was not

required when Plaintiffs were sentenced, and the Bill imposes no such standard of proof on the

Board’s decision-making process.

         58.   The Bill also creates ambiguity with respect to individuals serving consecutive

sentences and what weight the Board should give each factor listed in RSMo. §§ 558.047.5,

565.033.2. Upon information and belief, the Board is giving near-exclusive weight to the nature

and circumstances of the offense relative to any other factor enumerated above.

         59.   It is also apparent that the Board is not giving meaningful consideration to the other

factors delineated in SB 590 prior to making parole determinations for Miller-impacted inmates.

While Plaintiffs do not concede the constitutionality or adequacy of SB 590, it is clear that

Defendants are not satisfying the requirements of RSMo. §§ 558.047.5 and 565.033.2.




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                                       The Missouri Parole Board

         60.    Neither the Missouri Supreme Court nor SB 590 altered the sentences of Plaintiffs

and the putative class they represent. Instead, SB 590 put their future in the hands of the Missouri

Board of Probation and Parole: a political body long criticized for its arbitrariness, dysfunction,

and lack of transparency.

         61.    For example, under Missouri law, all meetings of the Board are closed meetings

unless    posted   as   open,    and       all   votes   of   the   Board   are   closed.   See   RSMo.

§§ 217.670.5, 217.690; 14 CSR 80-1.010 (2). Although the hearings are recorded, the Board treats

the recordings as closed records, and does not make them available to defendants. See RSMo.

§§ 217.670.5, 217.690; 14 CSR 80-1.010 (2); see also, e.g., Bogan, supra note 1; Leib, supra note

1; Parole Boards Keep Prisoners in the Dark, supra note 1; Life Without Parole, supra note 1

(quoting former operations manager of Missouri’s Parole Board referring to Board as “paranoid

closed . . . [c]losed to the extreme.”).

         62.    The Missouri Parole Board is typically comprised of seven full-time members, with

one designated by the Governor as Chair of the Board. Each member serves a six-year term, and

not more than four members of the Board may be of the same political party. RSMo. § 217.665.

The Board currently consists of the following individuals: (1) Kenneth Jones, Chairman; (2) Jim

Wells, Member; (3) Martin Rucker, Member; (4) Ellis McSwain, Jr., Member; (5) Jennifer Zamkus,

Vice Chair; and (6) Gary Dusenberg, Member. Don Ruzicka occupied the seventh seat on the

board, until his resignation on or about June 12, 2017. His seat remains vacant as of the date of

this Second Amended Complaint.

         63.    Jones is a former Moniteau County sheriff and Republican state representative.

Jones’ son, Caleb Jones, is Governor Eric Greitens’ deputy chief of staff.




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         64.   Wells is a former Pike County sheriff, and has served on the Board since 2009.

         65.   Rucker is a former Democratic state representative.

         66.   McSwain is a former probation and parole officer, warden at Algoa Correctional

Center, and manager at other MDOC institutions. Until recently, McSwain was Chairman of the

Board.

         67.   Ruzicka is a former Republican state representative from Mount Vernon, Missouri,

and as further described below is the subject of MDOC internal investigation, has a confirmed

history of abusing his position on the Board. Ruzicka was a member of the Board, hearing

countless hearings each week, until his recent resignation.

         68.   Zamkus is the only woman on the Board. She is a military veteran, the former

human resources director for MDOC, formerly worked as a probation and parole officer and

managed the Office of Civil Rights at the Missouri Department of Social Services. She is currently

the Vice Chair of the Board.

         69.   Dusenberg is a former Republican state representative, state trooper, and Vietnam

veteran from Blue Springs, Missouri.

         70.   None of the current members of the Board have significant background in or

understanding of adolescent development or child psychology. Yet, following the passage of SB

590, the Board declined the opportunity to receive training on these issues by the Campaign for

Fair Sentencing of Youth, which had specifically contacted the Board to provide technical

assistance relating to the law and science applicable to such cases.

         71.   Along with heightened secrecy, the Board also has historically enjoyed broad

discretion in its decision making. See RSMo. § 217.690; see also, e.g., Blackburn v. Missouri Bd.

of Prob. & Parole, 83 S.W.3d 585, 588 (Mo. App. W.D. 2002) (“The Board is vested with wide




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discretion in making parole release decisions and in adopting, implementing, and following its

own rules and regulations.”). Where a decision is made by the full Board – even if an inmate has

a hearing only before a panel – the decision is not reviewable. See RSMo. § 217.670.

        72.     Further, parole decisions are not grievable through the administrative process. See

Missouri Department of Corrections Offender Rulebook, 68-69 (Sept. 12, 2014), available at

https://doc.mo.gov/Documents/offender-rulebook-9-12-14.pdf (“You may grieve any issue except

. . . matters concerning probation and parole . . . .”).

        73.     In Missouri, the Board bears a very heavy caseload. For recent months during which

data was made available, the Board was responsible for, on average, 38 parole hearings every

business day. There were many occasions during the past several months where the Board

conducted over 60 hearings in one day.

        74.     Having to review and decide this volume of cases each day all but ensures the Board

does not to fully review Plaintiffs’ files or evidence presented, or give adequate consideration to

their chronological age and hallmark features of youth, as required by state and federal law.

              Plaintiffs Denied a Meaningful and Realistic Opportunity for Release

        75.     Constitutionally speaking, a juvenile offender’s parole review demands far more

procedural protection than in typical adult parole hearings. See Graham, 560 U.S. at 79. That is

because Graham and Miller announced both substantive and procedural requirements when

assessing proportionate punishment for youth.

        76.     It is clear that, to date, the Board has made little-to-no distinction between parole

reviews for juvenile offenders as compared with adult offenders, and has done nothing to specially

protect their rights.




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              77.            To the contrary, the JLWOP parole hearings are generally treated no differently

than typical Missouri parole hearings, which themselves do not comply with due process or other

constitutional norms.

              78.            The Board has now acknowledged a change in the law in its booklet Procedures

Governing the Granting of Paroles and Conditional Releases (also known as the “Bluebook”),

revised in January 20175: “Certain offenders who were under the age of eighteen (18) at the time

of the offense may petition the Board after serving twenty-five (25) years in accordance with

558.047 RSMo. Parole consideration will be determined by the Board on an individual basis.”

Bluebook, ¶ 20(D).

              79.            But there is no other mention of youthful offenders in the Bluebook. The Bluebook

does not specify, for example, what factors the Board is required to consider in making a parole

determination for juvenile offenders serving LWOP sentences. And, upon information and belief,

the Board and Institutional Parole Officers (“IPOs”) are not provided with training or tools

specifically tailored to considering youthful characteristics in preparing parole recommendations

or reaching parole decisions for Plaintiffs and the impacted class.

              80.            Prior to their actual parole hearings, IPOs conduct pre-hearing interviews with

inmates and, from that interview, prepare a report and recommendation for the Board. The Board

does not permit inmates or their attorneys to see that report, or any other reports or

recommendations from IPOs or other MDOC officials to the Board. And it is unclear what

evidence-based instruments or interview techniques, if any, are used by these IPOs, who

themselves lack social-scientific training.




                                                            
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    The Bluebook (Jan. 1, 2017) is available at http://doc.mo.gov/Documents/prob/Blue-Book.pdf.


                                                                                                           19
       81.     Inmates are permitted to have only one person present at the hearings. This

individual is referred to as the “inmate’s delegate.” Although an individual may choose to have

their attorney present at the hearing as their sole delegate, Defendants’ expectation is that the

delegate will be someone who can speak to the inmate’s home plan or support they would provide

the inmate upon release – and no other topic.

       82.     Prior to hearings, attorneys also are reminded that the hearing is not a “lawyering

moment.” Indeed, in Norman Brown’s case, the IPO admonished in advance of the hearing that

the attorney-delegate would not be treated like a lawyer. See Exhibit 2.

       83.     Upon information and belief, a representative from MDOC’s Office of Victim

Services (“OVS”) is also present at every hearing. The prosecuting attorney also generally attends.

       84.     The victims’ family members face very few limitations on their participation in the

hearing. They may appear in any number, are the first persons heard at the hearings, and may speak

for any length of time.

       85.     An inmate’s delegate or attorney is not permitted to share information directly with

the victim’s family members. In at least one instance, an attorney’s attempt to share a copy of

information provided to the Board with the victim’s family was abruptly intercepted and halted by

the representative from OVS.

       86.     Shortly thereafter, undersigned counsel received a letter directly from Defendant

Precythe, who was not present for the proceedings. See Exhibit 3. That letter included a list of

warnings and “procedures” counsel were to follow. The “procedures,” which cannot be found in

any law or lawfully-promulgated regulation, purport to prohibit the inmate and their delegate from,

among other things, making any contact with the victims of the case, “either directly or indirectly

. . . except through the Office of Victim Services.” Id.




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       87.     The “procedures” also reiterate that “[t]he delegate will address only issues related

to transition into the community,” in contravention of lawfully-promulgated Missouri regulations

and Miller factors. Id.

       88.     In some instances where inmates or their delegate attempt to speak regarding the

inmate’s youth or the impact of a particular instance of childhood trauma, the Board member has

cut them off and prevented them from making such further comments.

       89.     Attorneys are discouraged from participating in the process overall. In fact, in at

least one instance an IPO told an inmate that if his attorney acted as his delegate at his parole

hearing he would “pay for it.” Others have similarly reported negative reactions and treatment for

seeking representation at the hearing.

       90.     Where attorneys have appeared as delegates on behalf of their clients, they have

been told on at least two occasions that they are not permitted to bring any “legal materials” –

including pen and paper – into the hearing. In fact, the very first “procedure” included in Director

Precythe’s April 27, 2017 letter states that “note taking during the hearing is prohibited.” See

Exhibit 3.

       91.     These hearings are often traumatic experiences for inmates. Yet delegates generally

are not permitted to meet or speak with the inmates before or after hearings. They enter and leave

the hearing room through separate doors.

       92.     Plaintiffs are encouraged to conduct their parole hearings via video conference,

rather than in person. In some instances, inmates are encouraged to agree to a video conference

without being informed of their right to have the hearing conducted in person. At other times,

inmates are told they are permitted to have their hearing conducted in person rather than via video

conference, but that making that election would significantly delay the hearing date.




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       93.     Although the hearings are recorded, Plaintiffs are not permitted access to those

recordings. On February 9, 2017, one of Mr. McElroy’s attorneys requested the parole hearing

recording on his behalf. See Exhibit 4. That request was promptly denied. See Exhibit 5.

       94.     The Board’s decisions are often arbitrary and carelessly made. According to a

report by the ACLU, “One parole board staff member in Missouri explained to a reporter that some

members never read the files at all and instead based their decision on how the reviewing board

member before them voted.” False Hope: How Parole Systems Fail Youth Serving Extreme

Sentences, American Civil Liberties Union (Nov. 2016) (“False Hope”), at 58, FN448; see also

Life Without Parole, supra note 1 at 11.

       95.     This is especially problematic because of who attends the parole hearings.

Individuals eligible for parole review do not have the pleasure of a hearing before all seven of the

Board members. Instead, they are only permitted access to a “hearing panel” consisting of a single

Board member and two other corrections staff members. As a result, the individual potentially

eligible for parole may never sit in the same room as the person responsible for deciding whether

to grant or deny their request for parole.

       96.     Inmates themselves are not allowed to know or review what is in the file the Board

considers at each hearing. Thus, inmates have no way of confronting evidence against them, or

presenting evidence or witnesses who might provide a counter-narrative.

       97.     For example, at a 2013 parole hearing, a Board member told Roosevelt Price, “I

think you’ve been involved in other murders that you haven’t been caught for.” Mr. Price had

never been accused of another killing, and indicated he did not know where the Board member

was getting that information. She simply responded, “There’s things in your file I know about that

I think you don’t know.” Life Without Parole, supra note 1 at 11.




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              98.            At a more recent SB 590 hearing, an inmate was told by the Board member “his

file” showed he had more than 100 conduct violations. That inmate was not permitted to see the

Board’s file. However, according to a print out the inmate received from MDOC staff, he had only

59 conduct violations – and only three in the previous six years.

              99.            Upon information and belief, no special accommodations are made for inmates with

developmental disabilities.

              100.           In 2015, of the 14 individuals in Missouri serving a juvenile life sentence, only four

(29%) were approved for parole.6 The grant rate for those serving JLWOP sentences is far lower.

              101.           Upon information and belief, to date the Board has conducted 23 hearings under

SB 590. It has granted parole in only two instances. Thus, the Board’s denial rate is nearly 90%.

              102.           The majority of Miller-impacted individuals who have been denied parole under

this new process have received five-year setbacks – the maximum permitted under Board policies.

Others were not, in the Board’s opinion, yet eligible for parole and received setbacks of many

more years. Yet no explanation was provided for the lengthy delay in review or what might be

needed to satisfy Miller factors the next time around.

              103.           For example, prior to Mr. Roberts’ parole hearing, his IPO, Jessica Bliesath, told

him that, because of the Miller decision, the Board could not deny parole solely based on the

circumstances of the offense.7 After receiving a denial notice, Mr. Roberts’ asked IPO Bliesath

why he was denied based solely on circumstances of the crime given her earlier representation.

Given the barebones denial notice, even IPO Bliesath was left guessing as to the basis for the

Board’s decision, conjecturing that the Board’s one-line explanation represented just one of the


                                                            
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    False Hope, supra at 46, FN340.
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    Undersigned counsel were provided the same information by high-level Parole Board staff.


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reasons the Board made their decision: “I can assure you it is not the sole reason you received a

reconsideration hearing verses [sic] a release date.” See Exhibit 6. But Mr. Roberts has received

no notice or further explanation as to whether the Board denied parole on any other basis.

              104.           Further, outdates are not a guarantee of release – the Board can revoke them in their

discretion. See, e.g., Life Without Parole, supra note 1 at 5 (discussing the case of Keith Drone, a

juvenile offender who was denied parole at five separate hearings – including once when the Board

granted him parole, but then took it away).

              105.           If they were involved in the hearing process, the victim’s family receives

notification of the Board’s decision before the inmate does.

              106.           The Board’s decisions are provided to inmates on a single sheet of paper – a

barebones, boilerplate form that is used to notify inmates of all manner of events related to parole

considerations. Some of these forms, including those provided to Messrs. McElroy, Roland and

Roberts, are attached hereto as collective Exhibit 7.

              107.           There is no indication on these forms who made the decision or how the Board

voted. In fact, the forms are not signed at all. See Exhibit 7. This stands in stark contrast with, for

example, the Commonwealth of Massachusetts’s policy of providing written decisions regarding

parole review. See, e.g., Exhibit 8.8

              108.           Decisions by the full Board, as opposed to a panel decision, are not subject to

appeal. See RSMo. § 217.670. But Plaintiffs, whose hearings were held before a panel, were still




                                                            
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  This is just one of the many ways Missouri’s parole process for juvenile offenders stands in stark
contrast to how such hearings are conducted elsewhere. See, e.g., PBS Frontline: Second Chance
Kids       (PBS        television   broadcast       May       2,      2017),      available       at
http://www.pbs.org/wgbh/frontline/film/second-chance-kids/.


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precluded from any review by the full Board. And it is unclear what, if any, information is shared

from the panel to the Board.

       109.     In denying parole release, including in the JLWOP context, the Board most often

cites to the “circumstances surrounding the offense(s).” in this way, the parole determination does

not differ from the Board’s standard procedures and customs. Upon information and belief, every

single parole denial under SB 590, at least in part, focused on the circumstances of the present

offense as a reason for denial.

       110.     A former operations manager of the Board admitted that denial forms would almost

always say the same thing:

                Their forms would always say the same thing: “Release at this time
                would depreciate the seriousness of the present offense.”

                But that was “not always the truth. Sometimes I’d make that crap
                up. The real reason,” [Janet] Barton said, was “we don’t believe in
                parole for people like you.

Life Without Parole, supra note 1 at 11.

       111.     Yet the circumstances of the offense should not foreclose a child’s entitlement to

release from prison. See Adams, 136 S.Ct. at 1800 (Sotomayor, J., concurring) (“[T]he

gruesomeness of a crime is not sufficient to demonstrate that a juvenile offender is beyond

redemption: ‘The reality that juveniles still struggle to define their identity means it is less

supportable to conclude that even a heinous crime committed by a juvenile is evidence of

irretrievably depraved character.’”) (quoting Roper, 543 U.S. at 570); see also Montgomery, 136

S.Ct. at 736 (“The opportunity for release [on parole] will be afforded to those who demonstrate

the truth of Miller’s central intuition—that children who commit even heinous crimes are capable

of change.”).




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              112.           The hearings themselves last, on average, no more than 15 to 30 minutes. The bulk

of the short parole hearing is spent discussing the circumstances of the offense in detail, rather than

the inmate’s childhood, youth at the time of the offense, or demonstrated rehabilitation over years

of imprisonment.

              113.           The Missouri Parole Board’s policies, procedures, and customs deprive Plaintiffs

and members of the putative class of the “meaningful opportunity to obtain release based on

demonstrated maturity and rehabilitation” to which they are entitled under law.

              114.           Thus, although SB 590 granted them the opportunity for review of their sentence

before the Parole Board9, the Board’s arbitrary and standard-less practices all but guarantee that

juveniles sentenced to LWOP – even those entitled to relief under SB 590 – will die in prison

regardless of whether they have demonstrated rehabilitation and maturity.

              115.           At the very least, the possibility of release after 25 years, as envisioned by the

Missouri Supreme Court and SB 590, is illusory.

              116.           Furthermore, because of ongoing dysfunction within the Board, lack of

transparency in parole proceedings, and inability to appeal decisions, individuals are prevented

from vindicating their right to a meaningful opportunity for release.

                                                   Hearings as “Parole Bingo” and Reducing
                                            Proceedings as Sport for the Entertainment of Board Staff

              117.             This systemic dysfunction was further revealed in a recent investigation by the

MDOC Inspector General. See Exhibit 9.




                                                            
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   Plaintiffs do not concede that SB 590, even if fully complied with, remedies their
unconstitutional sentences in compliance with Miller. But Plaintiffs continue to be subjected to SB
590 hearings.

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       118.       Defendant Don Ruzicka and an unnamed Parole Analyst were playing “parole

bingo” with inmates who appear before them. The two spent their time during numerous

proceedings trying to have inmates say a chosen “word of the day,” and competing to see who

could make inmate say the most chosen words during a day’s docket. See Exhibit 9.

       119.       The relatively small sampling of recordings reviewed through the investigation

revealed Board member Ruzicka and parole staff used animal names and other non-criminal justice

as “words of the day.” For example, on June 21, 2016, the words of the day were “hootenanny”

and “Peggy Sue.” The following day, they were “platypus,” “armadillo” and “egg.” And the day

after that, the words were “biomass” and “manatee.” Id.

       120.       Adding to the atmosphere of disrespect, and further demonstrating disregard for

official duties and the interests of the people he was appointed to serve, Ruzicka ultimately added

song titles to the mix. Thus, as a further part of their shared hearings Ruzicka and his staff partner

held contests to see if they could get inmates to answer their questions with phrases like “Hound

Dog” (Elvis), “Folsom Prison Blues” (Johnny Cash), and “Two out of Three Ain’t Bad”

(Meatloaf). Id.

       121.       Beyond playing word games, Ruzicka coordinated his attire with hearing staff to

enhance the comedic level of proceedings. On some days they wore all black, while on others they

donned “funny ties,” including ties with characters from South Park, a dark adult-cartoon show.

Id.

       122.       Ruzicka’s conduct was acknowledged in findings from the Missouri Department

of Corrections’ Inspector General Amy Roderick. According to Roderick, who listened to a

number of hearing tapes as part of an internal investigation into such matters, Ruzicka and his

partner “were trying so hard to embed words or song titles into their questions or statements that




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they were so focused on the proper questions to ask . . . nor were they actively listening to the

responses.” For instance, on the day “hootenanny” was the chosen term, Ruzicka could be heard

laughing out loud as it was referenced while his assigned Parole Analyst whispered, “I got four.”

Id.

       123.     In November 2016, Inspector General Roderick issued detailed findings

confirming that these events did in fact occur. She further determined that Ruzicka and his partner

had violated both prison policies and Gubernatorial Executive Orders by “failing to conduct the

business of state government in a manner that inspires confidence and trust” and “failing to

perform duties responsibly.” Id.

       124.     Roderick’s investigative report not only clearly documents Ruzicka’s outrageous

conduct, it also proves the complicity of most of the Parole Board members and staff, who, long-

aware of these antics, did or said nothing to stop it – even though the lives and liberty of countless

individuals were on the line. Id.

       125.    Inspector General Roderick also reported these concerns to the Parole Board

Chairman and Chief State Supervisor for the Board. Id. However, appears these shameful activities

have not been shared by prison officials with the public or otherwise.

       126.     Upon information and belief, Don Ruzicka conducted over 45,000 parole hearings

during his tenure with the Board. While Ruzicka was removed from the schedule for conducting

parole hearings while Roderick’s investigation was pending, he resumed his duties just days after

Roderick’s report was issued.

       127.     Ruzicka continued to preside over parole hearings – including those where Miller-

impacted inmates are seeking a meaningful chance at a second chance – until Plaintiffs’ counsel

brought to light Inspector General Roderick’s investigative report. Ruzicka resigned from the




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Board on or about June 12, 2017. But prior to his resignation, and upon information and belief,

Ruzicka presided over two of the 22 parole hearings for inmates serving JLWOP sentences, and

contributed to every Board decision denying them freedom.

Norman Brown

       128.    Norman Brown has served over 25 years on his LWOP sentence – a sentence

imposed on him mandatorily despite the fact that he was only 15 years old at the time of the crime,

and an unarmed, unwitting accomplice to an adult co-defendant twice his age.

       129.    During the crime Stephen Honickman, the owner of a jewelry store, was killed by

the shots fired by the adult co-defendant, Herbert Smulls. Smulls also shot and injured Mr.

Honickman’s wife, Florence.

       130.    Mr. Brown is a model inmate who has completed thousands of hours of restorative

justice programs, serves as a prison hospice worker, and helps run the “Puppies for Parole” dog

training program.

       131.    At the time the Original Complaint was filed in this matter, Mr. Brown had a parole

hearing scheduled for May 24, 2017. One of his attorneys intended to appear as his delegate. She

was admonished in advance against attempting to advocate on behalf of Mr. Brown. See Exhibit

2.

       132.    Mr. Brown anticipated that he would receive the same lack of process and

consideration afforded others similarly situated who have already had their parole hearings under

a change in the law. Those fears – and worse – were realized on May 24.

       133.    Upon arrival to the facility, counsel for Mr. Brown was informed she could not

bring a pen or paper into the hearing to memorialize anything that was said or done during the

proceedings. It did not appear that the same instruction was provided to the victim, Ms.




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Honickman, her companion, or the St. Louis County prosecutor, all of whom arrived shortly after

defense counsel and were allowed entrance to the prison and hearing room before defense counsel.

        134.    The hearing, led by Parole Board member Don Ruzicka, began with a further

admonition that defense counsel was present in the limited role of witness/delegate and could

speak when asked to provide information about support she might provide to Mr. Brown upon his

release. She, along with Mr. Brown, were also admonished not to look at Ms. Honickman.

        135.    The victim, on the other hand, was allowed to be accompanied by a friend who was

unrelated to the case. She was further supported the prosecutor, a victim-witness coordinator, and

surrounded by prison guards.

        136.    Ms. Honickman, for whom Mr. Brown offered his deepest apologies, regrets, and

condolences, was permitted to read an approximately twelve-page statement to the Board and offer

any further factual statements, feeling, or opinions on the law as she wished.

        137.    For instance, such testimony included suggestions that the United States Supreme

Court made a mistake in the Miller decision and that the Board should not follow it as precedent.

Mr. Brown’s counsel was not permitted to respond to this legal assertion.

        138.    Ms. Honickman also asked the Board to consider the possibility that Norman

Brown had shot her since she did not see the gun was fired – although that theory had never been

advanced previously and even the government has conceded in the past that Norman Brown was

not only unarmed, but not even in the room when the shooting occurred.

        139.    It was clear during Ms. Honickman’s testimony that she had been previously been

provided with a variety of information about Mr. Brown, including information from his prison

file that is not generally available to the public.




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       140.    The prosecutor was also permitted unlimited time to address the hearing panel in

whatever fashion he wished. During his extended presentation, he urged the Board to consider

facts that were simply erroneous, not ever proven at trial, and highly inflammatory. Indeed, he

made reference to submitting to the Board new evidence in the form of a crime scene diagram that

he put together for their consideration. Neither Norman Brown nor his counsel were provided with

such information.

       141.    Norman Brown, in contrast, was only permitted to respond to a short series of

specific questions posed by the hearing panel – questions which overwhelmingly focused on the

facts of the crime rather than his growth, rehabilitation, or plans for release. Parole Board member

Ruzicka repeatedly suggested to Norman that he knew right from wrong – even though he was

only fifteen years of age at the time of the crime and operating at the direction of a man twice his

age.

       142.    Yet Mr. Brown’s counsel, as noted, was merely permitted to offer information

about support she might provide to Mr. Brown upon his release. The instructions, restrictions, and

admonitions from the Board made clear she was not allowed to state objections to erroneous facts

presented to the Board, correct any legal assertions that had been offered by the victim or

prosecutor, or address the panel’s own statements – believed by counsel to be legally incorrect –

about Norman Brown’s minimum release eligibility date.

       143.    At the end of the hearing both Norman Brown and his attorney were asked to leave

the hearing room. The prosecutor, Ms. Honickman, her companion, the victim-witness

coordinator, prison guards, and additional parole staff who had apparently entered the room behind

counsel during the hearing were permitted to remain.




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        144.    The entire process was demoralizing, dehumanizing, and traumatizing for Norman

Brown and his counsel.

        145.    What is more, the Board rendered its decision within two days, denying Mr.

Brown’s request for release based on a single factor: “[c]ircumstances surrounding the present

offense.” See Exhibit 10.

        146.    Only after the hearing did Norman Brown and his attorney learn that the Parole

Board member who had conducted the hearing, Don Ruzicka, was the subject of MDOC internal

investigation, had a confirmed history of abusing his position on the Board, and yet remains on the

Board hearing countless hearings each week.

Ralph McElroy

        147.    Ralph McElroy has served over 30 years on his LWOP sentence.

        148.    Mr. McElroy has completed a GED in prison, has received numerous training

certificates, and has been employed as a caretaker in the Enhanced Care Unit.

        149.    Mr. McElroy’s parole hearing was held before a panel of the Board on December

13, 2016. His sister, Malena Riggs, attended as his only permitted delegate, as he was precluded

from having both counsel and a delegate present.

        150.    At the hearing, as well as in the letters provided to the Board prior to the hearing,

Mr. McElroy and his sister explained his extensive home plan which included a responsible

fiancée, a place to live, and a potential job.

        151.    Upon information and belief, the hearing lasted less than half an hour. Mr. McElroy

requested the transcript from his hearing, which the Board refused to provide. See Exhibits 4 and

5.




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       152.    On or about, January 23, 2017, Mr. McElroy was informed that the Board denied

his request for parole. The Board cited two reasons for its decision: (1) release would depreciate

the seriousness of the offense based on the circumstances of the offense, and (2) a risk of later

violating the law due to poor institutional adjustment. He is not scheduled for a reconsideration

hearing until December 2021. This is the maximum possible setback under the Board’s policies.

       153.    The denial notice expressly stated that the decision was not subject to appeal.

Sidney Roberts

       154.    Sidney Roberts has served over 28 years on his LWOP sentence.

       155.    During his many years in prison, Mr. Roberts completed various courses and

pursued informal means of self-improvement. He maintained a steady work history, and had five

different supervisors write letters of support to the Board on his behalf, commending Mr. Roberts’

industriousness and good character.

       156.    The vast majority of Mr. Roberts’ conduct violations were received when he was

still in his twenties. He has had no violations in nearly eight years.

       157.    Like many other Miller-impacted youthful offenders, Mr. Roberts has attempted to

request Miller-compliant processes at his SB 590 hearing. See Exhibit 11. His request, as with all

others, has been essentially ignored by the Board.

       158.    Mr. Roberts’ parole hearing was held before a panel of the Board on March 9, 2017.

Mr. McSwain was the only Board member present at the hearing. Mr. Roberts’ mother attended

the hearing as his delegate because he was precluded from having both counsel and a delegate

present.

       159.    During the hearing, Mr. McSwain grilled Mr. Roberts about the circumstances of

the crime until Mr. Roberts broke down, sobbing.




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       160.     On or about April 11, 2017, the Board denied Mr. Roberts’ request for parole solely

because of the circumstances of the offense. He is not scheduled for a reconsideration hearing until

March 2021.

       161.     The denial notice expressly stated that the decision was not subject to appeal.

Theron “Pete” Roland

       162.     Theron “Pete” Roland has served over 29 years on his LWOP sentence. He is now

46 years old.

       163.     Mr. Roland also has an exceptional institutional record. At the time of his parole

hearing in January 2017, Mr. Roland had not received a conduct violation in 15 years, and had

been in honor dorm for approximately 14 years. In fact, over his nearly 30 years in prison, he has

received no more than 14 violations.

       164.     Mr. Roland received a panel hearing on January 3, 2017. His sister, Kelly, attended

as his only permitted delegate.

       165.     During Kelly’s statement in support of Mr. Roland, the Board cut her off, and

directed her to speak only to Mr. Roland’s home plan.

       166.     Martin Rucker was the sole Board member at Mr. Roland’s hearing. At the hearing,

Mr. Rucker admitted on record that he had not reviewed Mr. Roland’s file beforehand.

       167.     On or about January 30, 2017, the Board denied Mr. Roland’s request for parole

solely because of the circumstances of the offense. He is not scheduled for a reconsideration

hearing until January 2022. This is the maximum possible setback under Board policies, imposed

without any explanation or justification.

       168.     The denial notice expressly stated that the decision was not subject to appeal.




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Class Action Allegations

       169.    Plaintiffs bring this suit as a class action on behalf of themselves and all others

similarly situated, pursuant to Rules 23(a) and 23(b)(2).

       170.    Plaintiffs seek to represent the following class on claims for declaratory and

injunctive relief: individuals in the custody of MDOC who were sentenced to LWOP under a

mandatory sentencing scheme and who were under 18 years of age at the time of the offense (the

“Class”).

       171.    Information as to the precise size of the Class and the identity of those in it is

exclusively controlled by Defendants. However, Plaintiffs’ counsel estimate the Class includes

approximately 83 individuals, including the named Plaintiffs. These individuals are geographically

dispersed throughout various MDOC facilities throughout the State of Missouri. The number of

persons who are members of the Class described above are so numerous that joinder of all members

in one action is impracticable.

       172.    The named Plaintiffs will fairly and adequately represent the interests of the Class.

They each possess a strong personal interest in the subject matter of the lawsuit, and will be

represented by competent and skilled counsel with expertise in civil litigation and civil rights

litigation. Counsel have the legal knowledge and resources to fairly and adequately represent the

interests of all Class members in this action.

       173.    As a result of Defendants’ unconstitutional policies and practices governing the

JLWOP parole review process, members of the Class are or will be subjected to cruel and unusual

punishment and deprived of their constitutional rights to due process. Plaintiffs seek declaratory

and injunctive relief to remedy Defendants’ illegal and unconstitutional policies, practices and

customs.




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       174.    Questions of law and fact that are common to the entire Class predominate. The

common question at issue in this lawsuit is whether Defendants maintain a policy or custom of

conducting JLWOP parole review hearings in a manner that prevents Plaintiffs from obtaining a

realistic and meaningful opportunity for release based on demonstrated rehabilitation, in violation

of state and federal due process requirements and prohibitions on cruel and unusual punishment.

       175.    Because Defendants have acted or refused to act on grounds generally applicable

to the entire Class, final injunctive and declaratory relief is appropriate as to the Class as a whole.

Thus, certification of the Class under Rule 23(b)(2) is proper.

                                              CLAIMS

                                     COUNT I
Cruel and Unusual Punishment in Violation of the Eighth Amendment to the United States
                          Constitution – 42 U.S.C. § 1983

       176.    Plaintiffs incorporate all preceding paragraphs as if fully set forth herein.

       177.    Defendants’ current policies, procedures, and customs with respect to the parole

review process for Plaintiffs and the putative class fail to provide a realistic and meaningful

opportunity for release upon demonstrated rehabilitation. These policies, procedures, and customs

lack legitimate penological justification, are arbitrary and capricious, and constitute cruel and

unusual punishment in violation of the Eighth Amendment to the United States Constitution (as

incorporated to the states by the Fourteenth Amendment).

                                        COUNT II
Deprivation of Due Process in Violation of the Fourteenth Amendment to the United States
                             Constitution – 42 U.S.C. § 1983

       178.    Plaintiffs incorporate all preceding paragraphs as if fully set forth herein.

       179.    Defendants’ aforementioned actions, including but not limited to their ongoing

failure to provide Plaintiffs and the putative class with (1) a meaningful opportunity for release

upon demonstrating their growth, maturity, and rehabilitation, (2) the right to review and rebut


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evidence presented against them at parole hearings, and (3) sufficient notice and explanation of

the basis for parole determinations constitute denial of due process of law in violation of the

Fourteenth Amendment to the United States Constitution.

                                    COUNT III
    Cruel and Unusual Punishment in Violation of Article I, Section 21 of the Missouri
                                    Constitution

       180.    Plaintiffs incorporate all preceding paragraphs as if fully set forth herein.

       181.    Defendants’ current policies, procedures, and customs with respect to the parole

review process for Plaintiffs and the putative class fail to provide a realistic and meaningful

opportunity for release upon demonstrated rehabilitation. These policies, procedures, and customs

lack legitimate penological justification, are arbitrary and capricious, and constitute cruel and

unusual punishment in violation of Article I, Section 21 of the Constitution of the State of Missouri.

                                       COUNT IV
Deprivation of Due Process in Violation of Article I, Section 10 of the Missouri Constitution

       182.    Plaintiffs incorporate all preceding paragraphs as if fully set forth herein.

       183.    Defendants’ aforementioned actions, including but not limited to their ongoing

failure to provide Plaintiffs and the putative class with (1) a meaningful opportunity for release

upon demonstrating their growth, maturity, and rehabilitation, (2) the right to review and rebut

evidence presented against them at parole hearings, and (3) sufficient notice and explanation of

the basis for parole determinations constitute denial of due process of law in violation of Article I,

Section 10 of the Constitution of the State of Missouri.

                                           COUNT V
                        Declaratory Judgment Regarding Defendants’
                      Failure to Satisfy RSMo. §§ 558.047.5 and 565.033.2

       184.    Plaintiffs incorporate all preceding paragraphs as if fully set forth herein.




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        185.    There exists a real, ripe, justiciable controversy between the parties over whether

Defendants’ policies, practices, and customs with respect to the parole review process for Plaintiffs

and the putative class satisfy the requirements of RSMo. §§ 558.047.5 and 565.033.2.

        186.    Plaintiffs do not concede the constitutionality or adequacy of SB 590, but

Defendants still must comply with the letter of the law. It appears they do not.

        187.    Upon information and belief, during the parole process for Plaintiffs and the

putative class, Defendants are not giving adequate consideration to the factors delineated in RSMo.

§§ 558.047.5 and 565.033.2, including but not limited to: Plaintiffs’ rehabilitative efforts,

Plaintiffs’ growth and maturity since the date of the underlying offense(s), Plaintiffs’ age, maturity,

intellectual capacity, and mental and emotional health and development at the time of the offense,

and whether Plaintiffs remain the same risk to society as at the time of initial sentencing.

        188.    A judicial determination resolving this controversy is necessary and appropriate at

this time.

                                     REQUEST FOR RELIEF

        WHEREFORE, Plaintiffs pray this Court:

        A. For the named Plaintiffs and members of the plaintiff class, issue a declaratory

             judgment that Defendants’ policies, procedures, and customs for JLWOP parole

             reviews violate the Eighth and Fourteenth Amendments to the United States

             Constitution and Article I, Sections 10 and 21 of the Missouri Constitution, and fail to

             satisfy RSMo. §§ 558.047.5 and 565.033.2;

        B. For the named Plaintiffs and members of the plaintiff class, grant injunctive relief

             ordering that Defendants comply with RSMo. §§ 558.047.5 and 565.033.2, and also

             formulate and implement policies, procedures, and customs for JLWOP parole reviews




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   that ensure a realistic and meaningful opportunity for release based on demonstrated

   maturity, and any further appropriate injunctions to prevent the future deprivation of

   the rights of Plaintiffs and members of the plaintiff class, including but not limited to

   requiring Defendants to provide Plaintiffs with, among other things:

      i.   The right to meaningful representation by counsel at parole hearings;

     ii.   The right to review all information provided to the Board or panel, including

           but not limited to the IPO’s report and recommendation, in advance of the

           hearing;

    iii.   The right to submit written material to the Board in advance of the hearing;

    iv.    The right to present lay and expert witness testimony at the hearing;

     v.    The right to cross-examine at the hearing those who have provided evidence

           against them and otherwise challenge evidence presented against them

    vi.    The right to have an independent recording made of the hearing, and to access

           any recording of the hearing made or maintained by the Board or panel; and

    vii.   The right to have a statement made, on the record and in the inmate’s presence,

           of the decision and the specific reasons for the decision;

C. For the named Plaintiffs and members of the plaintiff class who have already had a

   hearing pursuant to SB 590, but have been denied parole, grant injunctive relief

   ordering that Defendants provide those individuals with a parole review hearing within

   90 days that complies with Graham, Miller, and Montgomery’s constitutional mandate

   and ensures a realistic and meaningful opportunity for release based on demonstrated

   maturity;




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       D. Award Plaintiffs’ costs, including reasonable attorneys’ fees, under 29 U.S.C. § 794a

          and other relevant provisions of law; and

       E. Allow such other and further relief to which Plaintiffs may be entitled.

Respectfully submitted,

MACARTHUR JUSTICE CENTER AT ST. LOUIS

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Dated: November 1, 2017




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                                   CERTIFICATE OF SERVICE

       I hereby certify that on the 1st day of November, 2017, a true and correct copy of the

foregoing was electronically filed using the Court’s online case filing system, which will send

notice to all counsel of record.

                                                   By: /s/ Amy E. Breihan




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